MANDATE
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                                  UNITED STATES COURT OF APPEALS
                                                FOR THE
                                           SECOND CIRCUIT
                              ____________________________________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 12th day of July, two thousand twenty-four.

     ____________________________________

     Furnishare Inc.,                                              ORDER
                                                                   Docket No. 23-958
     lllllllllllllllllllllPlaintiff - Appellee,

     v.

     Travelers Property Casualty Company of America, The
     Travelers Indemnity Company of Connecticut,

     lllllllllllllllllllllDefendants-Cross-Defendants-Cross-
     Claimants-Appellants,

     v.

     State Farm Fire And Casualty Company,

     lllllllllllllllllllllDefendant-Cross-Claimant-Cross-
     Defendant-Appellee.
     _______________________________________

            The parties in the above-referenced case have filed a stipulation withdrawing this appeal
     pursuant to FRAP 42.

             The stipulation is hereby "So Ordered".




                                                               For The Court:
                                                               Catherine O'Hagan Wolfe,
                                                               Clerk of Court




MANDATE ISSUED ON 07/12/2024
